Case 4:22-cv-00325-RH-MAF Document 257 Filed 09/08/23 Page 1of3
USCA11 Case: 23-12159 Document: 32 Date Filed: 09/08/2023 Page: 1 of 3

In the

United States Court of Appeals
Hor the Eleventh Circuit

No. 23-12159
JANE DOE,
Individually and on Behalf of Her Minor Daughter,
SUSAN DOE,
Individually and on Behalf of Her Minor Son,
BRENDA BOE,
Individually and on Behalf of Her Minor Son,
BENNETT BOE,
CARLA COE,

Individually and on Behalf of Her Minor Daughter,et al.,
Plaintiffs-Appellees,

VETSUS

SURGEON GENERAL, STATE OF FLORIDA, FLORIDA
BOARD OF MEDICINE,

In Their Official Capacities as Members of the Florida
Board of Osteopathic Medicine,

SCOT ACKERMAN,
Case 4:22-cv-00325-RH-MAF Document 257 Filed 09/08/23 Page 2 of 3
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2. Order of the Court 23-12159

In Their Official Capacity as Members of the Florida
Board of Medicine,

NICHOLAS WILLIAM ROMANELLO,

In Their Official Capacity as Members of the Florida
Board of Medicine,

WAEL BARSOUM,

In Their Official Capacities as Members of the Florida
Board of Medicine,

MATTHEW R. BENSON,

In Their Official Capacities as Members of the Florida
Board of Medicine, et al.,

Defendants-Appellants,

ATTORNEY GENERAL, STATE OF FLORIDA, et al.,

Defendants.

Appeal from the United States District Court
for the Northern District of Florida
D.C. Docket No. 4:23-cv-00114-RH-MAF

ORDER:
Case 4:22-cv-00325-RH-MAF Document 257 Filed 09/08/23 Page 3 of 3
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23-12159 Order of the Court 3

The motion for an extension of time to and including Octo-
ber 6, 2023 to file Appellant’s initial brief is GRANTED, with the
appendix due 7 days after the filing of the brief.

Gils fe—

UNITED STATES CIXCUIT JUDGE

